USDC IN/ND case 1:05-cv-00129-TLS            document 195       filed 01/29/09    page 1 of 10


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION


R. DAVID BOYER, TRUSTEE,                           )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )       CAUSE NO. 1:05-CV-129
                                                   )
CHRISTOPHER GILDEA, et al.,                        )
                                                   )
       Defendants.                                 )


                                   OPINION AND ORDER

                                        I. INTRODUCTION

       This matter is before the Court on Defendant Arlington Capital, LLC’s motion to compel

Plaintiff R. David Boyer, Trustee (“Trustee”), to produce five e-mail communications that he has

withheld under the claim of work product doctrine or common interest doctrine. (Docket # 184.)

The withheld e-mails are responsive to a request for production served by Arlington Capital on

the Trustee on May 22, 2008. (See Docket # 148.)

       The Trustee filed a response to Arlington Capital’s motion on January 13, 2009 (Docket

# 189), and Arlington Capital replied on January 23, 2009 (Docket # 194). In addition to

considering the parties’ respective arguments, the Court conducted an in camera inspection of

the e-mails. (See Docket # 192, 193.)

       For the following reasons, Arlington Capital’s motion to compel will be DENIED.
USDC IN/ND case 1:05-cv-00129-TLS             document 195        filed 01/29/09     page 2 of 10


                   II. FACTUAL AND PROCEDURAL BACKGROUND

       The Trustee has described this as a “bid-rigging” case orchestrated by all ten Defendants

for the sale of the business assets of a bankrupt entity, GT Automation, Inc., in April 2003.

       In particular, on October 18, 2004, the Trustee filed an amended adversary proceeding

complaint against a number of Defendants, including Arlington Capital. (Docket # 12). In the

complaint, the Trustee alleged among other things that Arlington Capital and the other

Defendants violated 11 U.S.C. § 363(n) by entering into an agreement to control the price of the

auction assets to the detriment of both secured (i.e., primarily Comerica Bank) and unsecured

creditors.

       Baker & Daniels, LLP, was initially employed as special counsel to the Trustee in the

Bankruptcy Court case. Baker & Daniels, specifically Attorneys John Burns and Mark Werling,

were counsel for Comerica Bank, the largest secured creditor of GT Automation during the

Chapter 11 phase of the bankruptcy proceedings, and still are counsel for Comerica. After the

Trustee filed its amended complaint, the Bankruptcy Court granted Baker & Daniels’s

application to withdraw as special counsel to the Trustee. Attorney John McCarthy of Bainton

McCarthy was and remains special counsel to the Trustee. On June 12, 2006, after Baker &

Daniels had withdrawn as special counsel to the Trustee, Werling filed a lengthy affidavit with

the Court (Docket # 82), detailing his knowledge of the factual events relevant in this dispute.

       On May 22, 2008, Arlington Capital served counsel for the Trustee with a request for

production of documents, and on July 9, 2008, the Trustee served his objections and responses.

Arlington Capital then filed a motion to compel certain responses from the Trustee (Docket #

148), which the Court granted on November 13, 2008 (Docket # 176), ordering the Trustee to


                                                 2
USDC IN/ND case 1:05-cv-00129-TLS              document 195        filed 01/29/09     page 3 of 10


produce certain documents together with a privilege log for any documents he claims are

privileged.

       On December 23, 2008, after receiving the Trustee’s privilege log, Arlington Capital

filed the instant motion to compel, challenging the Trustee’s withholding of five e-mail

communications under the work product doctrine or common interest doctrine. Four of the e-

mails are between Werling and one or more attorneys with Bainton McCarthy, the Trustee’s

special litigation counsel. The remaining e-mail is between a Bainton McCarthy attorney and

James Treadwell, an officer of one of GT Automation’s largest unsecured creditors and an

anticipated fact witness in this case.

                                    III. LEGAL STANDARD

       The work product doctrine is a qualified privilege and is “distinct from and broader than

the attorney-client privilege.” Caremark, Inc. v. Affiliated Computer Servs., Inc., 195 F.R.D. 610,

613 (N.D. Ill. 2000) (citing United States v. Nobles, 422 U.S. 225, 238 (1975)). The work

product doctrine, stemming from Hickman v. Taylor, 329 U.S. 495 (1947), is codified in Federal

Rule of Civil Procedure 26(b)(3) as follows:

       Ordinarily, a party may not discover documents and tangible things that are
       prepared in anticipation of litigation or for trial by or for another party or its
       representative . . . . But, subject to Rule 26(b)(4), those materials may be
       discovered if: (i) they are otherwise discoverable under Rule 26(b)(1); and (ii) the
       party shows that it has substantial need for the materials to prepare its case and
       cannot, without undue hardship, obtain their substantial equivalent by other
       means. . . . If the court orders discovery of those materials, it must protect against
       disclosure of the mental impressions, conclusions, opinions, or legal theories of a
       party’s attorney or other representative concerning the litigation.

Therefore, in order to come within the qualified protection from discovery created by Rule

26(b)(3), a party claiming protection must show that the materials sought are: (1) documents and


                                                 3
USDC IN/ND case 1:05-cv-00129-TLS                     document 195           filed 01/29/09        page 4 of 10


tangible things; (2) prepared in anticipation of litigation or for trial; and (3) by or for a party or

by or for a party’s representative. Caremark, 195 F.R.D. at 613-14 (citing 8 Wright, Miller &

Marcus, Federal Practice And Procedure: Civil 2D § 2024 (1994)).

        Materials prepared in anticipation of litigation by or for a party, by any representative of

that party, are protected, regardless of whether the representative is acting for the lawyer. Id. at

615. “Thus, whether a document is protected depends on the motivation behind its preparation,

rather than on the person who prepares it.” Id.

        Nonetheless, as articulated in Rule 26(b)(3), once the qualified work product privilege is

established, it can still be overcome if the party seeking the materials shows: (1) a substantial

need for the materials, and (2) an inability to obtain the substantial equivalent of the information

without undue hardship. Id. at 614. Even upon such a showing, however, “the lawyer’s mental

processes are required to be protected from disclosure.” Id.

        To elaborate, Rule 26(b)(3) divides work product into two categories: (1) “opinion” work

product, which reflects or reveals a lawyer’s mental processes; and (2) “ordinary” or “fact” work

product. Mattenson v. Baxter Healthcare Corp., 438 F.3d 763, 768-69 (7th Cir. 2006);

Caremark, 195 F.R.D. at 616. “Both are generally protected and can be discovered only in

limited circumstances.” Caremark, 195 F.R.D. at 616 (citing In re Grand Jury Proceedings, 33

F.3d 342, 348 (4th Cir. 1994)). Opinion work product, however, is even more scrupulously

protected than ordinary or fact work product, since it “represents the actual thoughts and

impressions of the attorney.”1 Grand Jury Proceedings, 33 F.3d at 348; see also Mattenson, 438


        1
           The Supreme Court has declined to rule whether this immunity is absolute, and, if not, the showing
required to overcome a presumption of protection. Upjohn Co. v. United States, 449 U.S. 383, 401 (1981). The
Seventh Circuit Court of Appeals has stated that an attorney’s mental impressions and opinions are afforded
“heightened protection,” Logan v. Commercial Union Ins. Co., 96 F.3d 971, 976 n.4 (7th Cir. 1996), and referred to

                                                        4
USDC IN/ND case 1:05-cv-00129-TLS                      document 195            filed 01/29/09        page 5 of 10


F.3d at 768-69; Caremark, 195 F.R.D. at 616.

                                               IV. DISCUSSION

             A. E-Mail Dated December 22, 2005, From Werling to Bainton and Cohen,
                  and E-Mail Dated December 23, 2005, From Werling to Cohen

         The first two documents in dispute are e-mails sent by Werling to one or more attorneys

at Bainton McCarthy, the Trustee’s current counsel: the first to J. Joseph Bainton and Michael

Cohen (and copied to John Burns of Baker & Daniels), and the second to solely Cohen. The first

e-mail articulates Werling’s analysis of the computation of certain buyout premiums and the

second discusses his analysis of certain term sheets.2

         Arlington Capital, citing Ricoh Co. v. Aeroflex Inc., 219 F.R.D. 66, 69-70 (S.D.N.Y.

2003), argues that these two e-mails do not constitute work product because they were prepared

by Werling, who is a fact witness in this case and not a party. In Ricoh, the Court concluded that

e-mails between the defendants’ counsel and the employees of a non-party did not constitute

work product, stating that “it is a stretch to apply the attorney work product privilege to

documents created by a third party and sent to counsel for a party.” Id. The Ricoh Court further

reasoned that there was no “confidential relationship between the sender . . . and the recipient

(lawyers for the [d]efendants . . .), as would be the case where the ‘third party’ is a consultant

retained by a party or its lawyers and brought within the privilege as an agent of the attorney or


such material as being “out of bounds,” Mattenson, 438 F.3d at 768-69. At least one district court has held that
“mental impressions, conclusions, opinions, or legal theories” of an attorney are “absolutely privileged.” Vardon
Golf Co. v. BBMG Golf Ltd., 156 F.R.D. 641, 646 (N.D. Ill. 1994). Thus, in essence, the immunity from discovery
for opinion work product is absolute or nearly absolute. See Bio-Rad Labs., Inc. v. Pharmacia, Inc., 130 F.R.D. 116,
121 (N.D. Cal. 1990). In fact, in those circuits that do allow discovery for these type of documents, a “compelling
showing” is required to produce the documents. Id.

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           The second e-mail is the only document that the Trustee claims is also protected under the common
interest doctrine. Because the material is ultimately protected as work product, the Court does not need to reach the
common interest doctrine.

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USDC IN/ND case 1:05-cv-00129-TLS                         document 195            filed 01/29/09         page 6 of 10


party.” Id.

         However, as the Trustee argues, it is significant that Werling served as the Trustee’s prior

counsel in this litigation and that this communication was directed to the Trustee’s current

counsel. An in camera inspection of the two e-mails reveals that they contain Werling’s mental

impressions, conclusions, opinions, or legal theories about this case, materials which the Seventh

Circuit Court of Appeals has emphasized are afforded “heightened protection.”3 Logan, 96 F.3d

at 976 n.4. If these documents were to be disclosed, it could provide Arlington Capital with

insight into the Trustee’s current legal strategy in this case.

         “The work product doctrine reflects the strong public policy against invading the privacy

of an attorney’s course or preparation.” Jackson v. City of Chicago, No. 03 C 8289, 2006 WL

2224052, at *4 (N.D. Ill. July 31, 2006) (citation omitted). In that regard, the Seventh Circuit

has specifically explained that the work product doctrine shields materials “on the theory that the

opponent shouldn’t be allowed to take a free ride on the other party’s research, or get the inside

dope on that party’s strategy . . . .” Mattenson, 438 F.3d at 767-68; see also Hobley v. Burge, 433

F.3d 946, 949 (7th Cir. 2006) (stating that the purpose of the doctrine is “to establish a zone of

privacy in which lawyers can analyze and prepare their client’s case free from scrutiny or

interference by an adversary”); 1100 West, LLC v. Red Spot Paint & Varnish Co., No. 1:05-cv-

1670-LJM-WTL, 2007 WL 2904073, at *2 (S.D. Ind. May 18, 2007) (stating that one of the

purposes of the doctrine is to prevent a party “from taking a free ride on the research and

thinking of his opponent’s lawyer” (quoting Hobley, 433 F.3d at 949)).



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            In fact, in its reply brief (Docket # 159) to its initial motion to compel, Arlington Capital definitively
stated that it “is not seeking communications that reflect the legal analysis of Mr. Werling.” (Arlington Capital’s
Reply to Trustee’s Mem. of Law in Opp’n of Arlington Capital’s Mot. to Compel Produc. 6.)

                                                            6
USDC IN/ND case 1:05-cv-00129-TLS               document 195        filed 01/29/09      page 7 of 10


       In short, because these two communications contain the Trustee’s former counsel’s

mental impressions about this litigation and were directed to the Trustee’s current counsel, their

disclosure could reveal the Trustee’s legal strategy in this action; therefore, they are entitled to

protection under the work product doctrine. Arlington Capital’s motion to compel these

documents will be DENIED.

     B. E-Mail Chains Between Werling and Cohen Dated June 5, 2006, and June 9, 2006

       The next two disputed e-mail chains are also between Werling and Cohen and pertain to,

at least in part, Werling’s draft affidavit. The first was initiated by Werling and discusses certain

factual issues about his draft affidavit, his analysis of certain background facts, and Arlington

Capital’s request for sanctions. The second e-mail chain was initiated by Cohen (and copied to

his paralegal) to discuss Werling’s draft affidavit and certain issues concerning the asset

purchase agreement.

       As explained supra, Arlington Capital argues that these two e-mails do not constitute

work product because Werling is a non-party, fact witness in this case. However, the Court’s in

camera inspection of these two e-mails reveals that they again contain, in part, Werling’s mental

impressions, conclusions, opinions, or legal theories about the instant litigation. As stated supra,

the Seventh Circuit has referred to this type of material as “out of bounds.” Mattenson, 438 F.3d

at 768-69. Placing the mental impressions and legal theories of the Trustee’s former counsel into

the hands of Arlington Capital could provide it with insight into the Trustee’s legal strategy in

this case, thereby violating the public policy interests of the work product doctrine. See generally

In re ANR Advance Transp. Co., 302 B.R. 607, 616 (E.D. Wis. 2003) (“[I]t is widely agreed that

the principal justification for the doctrine is that protection of work product is necessary to


                                                  7
USDC IN/ND case 1:05-cv-00129-TLS               document 195        filed 01/29/09     page 8 of 10


preserve the adversary system of justice.”) (collecting cases).

         As to the portions of the e-mails that specifically discuss the evolution of Werling’s

affidavit, many district courts “consider draft affidavits and communications with counsel

relating to affidavits as covered by the attorney work product doctrine.” Randleman v. Fid. Nat’l

Title Ins. Co., 251 F.R.D. 281, 285 (N.D. Ohio 2008); see, e.g., Tuttle v. Tyco Elecs. Installation

Servs., Inc., No. 2:06-cv-581, 2007 WL 4561530, at *2 (S.D. Ohio Dec. 21, 2007); Kyoei Fire &

Marine Ins. Co. v. M/V Mar. Antalya, 248 F.R.D. 126, 155 (S.D.N.Y. 2007); United States v.

Univ. Hosp., Inc., No. 1:05-cv-445, 2007 WL 1665748, at *1 (S.D. Ohio 2007); 1100 West, 2007

WL 2904073, at *2; Ideal Elec. Co. v. Flowserve Corp., 230 F.R.D. 603, 608-09 (D. Nev. 2005).

Admittedly, there is contrary authority, reasoning that affidavits are not “attorney thought” but

are instead primarily “factual in nature and content.” Milwaukee Concrete Studios, Ltd. v.

Greeley Ornamental Concrete Prods., Inc., 140 F.R.D. 373, 378-79 (E.D. Wis. 1991); see, e.g.,

Murphy v. Kmart Corp., No. 07-5080-KES, 2009 WL 89687, at *6-9 (D.S.D. Jan 9, 2009);

Walker v. George Koch Sons, Inc., No.. 2:07cv274 KS-MTP, 2008 WL 4371372, at *5 (S.D.

Miss. Sep. 18, 2008); Infosystems Inc. v. Ceridian Corp., 197 F.R.D. 303, 306-07 (E.D. Mich.

2000).

         But here Arlington Capital fails to show that it has a substantial need for this information

and that is unable without undue hardship to obtain the substantial equivalent of the materials by

other means. See Fed. R. Civ. P. 26(b)(3); Mattenson, 438 F.3d at 768-69. In fact, Arlington

Capital does not even raise a substantial need argument until its reply brief and then does so

rather conclusorily, simply asserting that the e-mails “could contradict statements [Werling]

made in his affidavit or during his deposition.” (Reply Br. 4.)


                                                  8
USDC IN/ND case 1:05-cv-00129-TLS                         document 195            filed 01/29/09          page 9 of 10


         Of course, “[a]rguments that first appear in a reply brief generally are deemed waived.”4

Merrick v. Wal-Mart Supercenter, No. 3:06-CV-292 RM, 2007 WL 1742194, at *2 (N.D. Ind.

June 13, 2007); see, e.g., Porco v. Trustees of Ind. Univ., 453 F.3d 390, 395 (7th Cir. 2006).

And, Arlington Capital makes no allegation that Werling exhibited any inconsistencies or gaps in

his memory during his deposition that would give rise to a substantial need for the e-mails. Cf.

Johnson v. Bryco Arms, No. 03 CV 2582, 02 CV 3029, 2005 WL 469612, at *5 (E.D.N.Y. 2005)

(finding substantial need to disclose work product for impeachment purposes where the witness

demonstrated inconsistencies and gaps in his memory during his deposition). Furthermore,

Arlington Capital never even argues that it cannot obtain the substantial equivalent of these

documents by other means.

         As a result, these two e-mail chains will be protected under the work product doctrine,

and Arlington Capital’s motion to compel their disclosure will be DENIED.

                 C. E-Mail Chain Dated June 8, 2006, Between Treadwell and Cohen

         The final document in dispute is the e-mail chain between non-party, fact witness

Treadwell and Cohen, discussing Treadwell’s draft affidavit and his recollection of a meeting

with Arlington Capital. Treadwell’s affidavit was filed with the Court four days after this e-mail

correspondence took place. (See Docket # 79.)

         The Court’s in camera inspection of the e-mail reveals that Cohen initiated this e-mail

chain to Treadwell to discuss Treadwell’s affidavit that Cohen was preparing. The

communication on its face seemingly articulates only factual details, giving very little glimpse, if




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            Arlington Capital also raises for the first time in its reply brief a vague waiver argument that is rather
difficult to make sense of and merits no further mention. (Reply Br. 5-6.)

                                                             9
USDC IN/ND case 1:05-cv-00129-TLS             document 195        filed 01/29/09     page 10 of 10


any, into Cohen’s legal reasoning. Arlington Capital, however, never asserts that it has a

substantial need for this document or that it is unable without undue hardship to obtain its

substantial equivalent by other means. See Fed. R. Civ. P. 26(b)(3); Mattenson, 438 F.3d at 768-

69.

       Consequently, we again will align with the cases that find communications with counsel

relating to affidavits as covered by the attorney work product doctrine. See Randleman, 251

F.R.D. at 285; Tuttle, 2007 WL 4561530, at *2; Kyoei Fire, 248 F.R.D. at 155; Univ. Hosp.,

2007 WL 1665748, at *1; 1100 West, 2007 WL 2904073, at *2; Ideal Elec., 230 F.R.D. at 608-

09. Therefore, Arlington Capital’s motion to compel with respect to this document will also be

DENIED.

                                       V. CONCLUSION

       For the reasons set forth herein, Defendant Arlington Capital’s motion to compel to

produce documents withheld under the claim of work product doctrine or common interest

doctrine (Docket # 184) is DENIED.

       SO ORDERED.

       Enter for January 29, 2009.


                                                     S/Roger B. Cosbey
                                                     Roger B. Cosbey,
                                                     United States Magistrate Judge




                                                10
